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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 Case No.: 1:20-cv-23287-DPG


  LUIS MANUEL RODRIGUEZ, et al.,

                                Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                                Defendants.


                         ORDER GRANTING MOTION FOR
                EXTENSION OF TIME TO RESPOND TO THE COMPLAINT

         THIS CAUSE has come before the Court on the Defendant, Imperial Brands plc’s, Motion

  for Extension of Time to Respond to the Complaint While the Court Considers the Motion to Stay

  [DE 20] (“Motion”). Having considered the Motion and all other relevant factors, it is hereby

         ORDERED AND ADJUDGED that:

         The Motion is GRANTED. Defendant, Imperial Brands plc shall respond to the Complaint

  [DE 1] the later of thirty (30) days from the date that the Court rules on Imperial Brands plc’s

  Motion to Stay [DE 14] or the date set forth in the order on the Motion to Stay.

         DONE AND ORDERED in Chambers at Miami, Miami-Dade County, Florida, this

  day of September 2020.




                                                       HONORABLE DARRIN P. GAYLES
                                                       UNITED STATES DISTRICT JUDGE

  Copies furnished to: All Counsel of Record
